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                                                                              12-CV-2019-900096.00
                                                                              CIRCUIT COURT OF
                                                                         CHAMBERS COUNTY,ALABAMA
                                                                            LISA BURDETTE,CLERK
            IN THE CIRCUIT COURT OF CHAMBERS COUNTY,ALABAMA

BETTY WINSTON,
                                              *
       Plaintiff,                             *
                                              *    CASE NO.:
vs.                                           *
                                              *
THE KROGER CO. AND                                 JURY TRIAL DEMANDED
DEFENDANTS "A"- DEFENDANT "V"; *
                               *
       Defendants.



                                PLAINTIFF'S COMPLAINT


                                             PARTIES

       1.     Plaintiff, Betty Winston, is an adult resident of Chambers County, Alabama.

       2.     Defendant, The Kroger Co., is believed to be a foreign profit corporation doing

business at all material times in Chambers, Alabama.

       3.     DEFENDANT,"A", the legal entity responsible for the repair of the dangerous

and defective condition described therein;

       4.     DEFENDANT,"B", the legal entity who or which failed to warn the Plaintiff of

the unreasonably dangerous or defective condition of the premises on the occasion described

therein;

       5.     DEFENDANT,"C", the legal entity who or which failed to train the individual(s)

responsible for warning the public of the unreasonably dangerous or defective condition of the

premises on the occasion described herein;

       6.     DEFENDANT, "D", the legal entity responsible for creating the unreasonably

dangerous or defective condition ofthe premises on the occasion described herein;

       7.     DEFENDANT,"E", the legal entity who or which owned, maintained or had any
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interest in the premises involved in the occurrence made the basis ofthis lawsuit;

        8.     DEFENDANT, "F", the legal entity who or which was lessor of the premises

involved in the occurrence made the basis ofthis lawsuit;

       9.      DEFENDANT,"G", the legal entity who or which was the lessee of the premises

involved in the occurrence made the basis ofthis lawsuit;

        10.    DEFENDANT,"H", the legal entity who or which controlled and/or had the right

to control the premises involved in the occurrence made the basis of this lawsuit at the time of or

at any time before said occurrence.

        11.    DEFENDANT, "I", the legal entity who or which controlled or had the right to

control the access, ingress, egress, or entrance to the premises involved in the occurrence made

the basis of this lawsuit at the time of said occurrence;

        12.    DEFENDANT,"J", the legal entity who or which conducted safety inspections or

analysis at or with referenced to the site ofthe occurrence made the basis ofthis lawsuit; prior to

the date of said occurrence;

        13.    DEFENDANT, "K", the legal entity including, but not limited to the general

liability insurance carrier of the entity which owned, occupied or maintained the premises

involved in the occurrence made the basis of this lawsuit, which conducted any safety inspection

or analysis of or with regard to the premises involved in the occurrence made the basis of this

lawsuit at any time prior to said occurrence;

        14.    DEFENDANT, "L", the legal entity who or which provided any insurance

coverage, of whatever kind of character, for any of the named defendants or fictitious party

defendants listed or named herein;

        15.    DEFENDANT, "M", the legal entity whose breach of contract or warranty

contributed to cause the occurrence made the basis of this lawsuit;
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        16.     DEFENDANT,"N", the legal entity who or which is the successor in interest of

any ofthose entities described above.

        17.     DEFENDANT,"0", the legal entity who or which provided any cleaning service

and/or maintenance of the premises involved in the claim made the basis of this lawsuit;

        18.     DEFENDANT, "r, the legal entity who or which planned, designed or

constructed the facility involved in the occurrence made the basis of this lawsuit.

        19.     DEFENDANT, "Q", the legal entity who or which was architect, engineer,

contractor or subcontractor involved in the planning, design or construction of the building

involved in the occurrence made the basis of this lawsuit;

        20.     DEFENDANT, "R", the legal entity who or which supervised or trained the

person(s) responsible for the premises involved in the occurrence made the basis of this lawsuit;

        21.    DEFENFDANTS, "S",               "U", AND "V", those other legal entities whose

combined and concurrent negligence, wantonness or other wrongful conduct contributed to cause

the Plaintiff's injuries involved in the incident made the basis of this suit. All of the above

fictitious party Defendants' true and correct names are otherwise unknown at this time but will

be supplied by amendment and substitution when ascertained.

                                STATEMENT OF THE FACTS

       23.     Plaintiff incorporates by reference all prior paragraphs as if fully stated herein.

       24.     On or about the 15th day of July, 2017, Plaintiff, Betty Winston, was a patron of

Kroger located at 1401 S Gilmer Avenue, Lanett, Chambers County, Alabama. While walking

through the produce aisle, the Plaintiff, Betty Winston, slipped and fell on produce left on the

floor, causing injuries.

       25.     Plaintiff was an invitee at all times herein.

       26.     The produce left on the floor of the aisle where the Plaintiff fell was a latent and
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dangerous condition.

       27.     Upon information and belief, the Defendant failed to conduct reasonable

inspections, and warn the Plaintiff of the latent dangerous condition present thereon which

caused the Plaintiffto sustain injuries.

       28.     Upon information and belief, the Defendants herein affirmatively caused the

latent and dangerous condition to occur.

       29.     The latent and dangerous condition was not "open and obvious" to the Plaintiff

and others.

                                           NEGLIGENCE

       30.     Plaintiff incorporates by reference all prior paragraphs as if fully set forth herein.

       31.     Defendants, those named and named as fictitious party Defendants in the caption

of the Complaint, negligently caused or allowed said area of the floor where Plaintiff was

walking to be in such a deceptive, defective and unreasonably dangerous condition that Plaintiff

was caused to slip and fall.

       32.     Plaintiffs injuries and other damages, as set forth below, were proximately

caused by the negligence ofthe Defendants herein in one or more ofthe following aspects:

       A.      Defendants, those named and named as fictitious party Defendants in the caption

of the Complaint, negligently caused or allowed the condition of the premises where Plaintiff

was injured to be defective and unreasonably dangerous condition to the Plaintiff.

       B.      Defendants, those named and named as fictitious party Defendants in the caption

of the Complaint, should have known or could have known of the unsafe condition and

negligently failed to warn the Plaintiff of said condition.

       C.      Defendants, those named and named as fictitious party Defendants in the caption

of the Complaint, negligently failed to instruct and train its employees with respect to the
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maintenance and safety ofthe premises.

        D.     Defendants, those named and named as fictitious party Defendants in the caption

of this Complaint, negligently failed to inspect the premises in a timely manner.

       E.      Defendants, those named and named as fictitious party Defendants in the caption

of this Complaint, negligently failed to train, manage and/or adequately supervise the

maintenance and/or repair work performed on the premises to remedy and discover the

dangerous condition, and such failure caused Plaintiffs injuries.

       F.      Defendants, those named and named as fictitious party Defendants in the caption

of this Complaint, negligently failed to adequately warn ofthe hazards associated with the use of

the prernises on which the Plaintiff was injured.

       G.      Defendants, those named and named as fictitious party defendants in the caption

of this Complaint, negligently failed to properly safeguard the premises where Plaintiff was

injured, and the deceptive, defective, and unreasonably dangerous condition which they created

caused the Plaintiff injury.

       H.      Defendants, those named and named as fictitious party defendants in the caption

of this Complaint, negligently failed to adequately provide literature, instructions and training

aids relating to the hazards associated with the failure to properly repair the premises in order to

protect the public and Plaintifffrom injury.

       I.      Defendants, those named and named as fictitious party defendants in the caption

of this Complaint, negligently failed to prescribe, adopt, or promulgate rules or policies

regarding the maintenance of its premises where Plaintiff was injured, or if said Defendants did

prescribe, adopt, or promulgate said rules or policies, Defendants negligently failed to abide by

those rules.

       J.      Defendants, those named and named as fictitious party defendants in the caption
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of this Complaint, knew or should have known that the failure to maintain and/or repair the

premises where Plaintiff was injured and rendered the premises defective and unreasonably

dangerous and that it failed to either warn the plaintiff of the defective and unreasonably

dangerous condition or to make the premises safe. Defendants, those named and named as

fictitious party defendants in the caption of this Complaint, maintained its premises in a

negligent manner.

       33.       Said negligent conduct of Defendants proximately caused Plaintiff to suffer

injuries and damages, including but not limited to: she was caused to suffer physical injuries to

her person; surgery and surgical expenses, post-operative physical therapy treatment and expense

she was caused to undergo medical evaluation and treatment for her injuries and will be caused

to incur additional expenses in the further; she has been permanently disfigured; she has been

caused to suffer physical pain and suffering, loss of enjoyment of life, loss of quality of life,

emotional distress, and mental anguish; and she will continue to suffer similar injuries, pain and

damages in the future.

       WHEREFORE, premises considered, the Plaintiff herein demands judgment against the

Defendants herein for a sum within the jurisdictional limits of this Court, and any other relief to

which she is entitled.

                                    RESPONDEAT SUPERIOR

       34.       Plaintiff incorporates by reference all prior paragraphs as if fully stated herein.

       35.       The name Defendants, and all other Fictitious Parties herein, were, at all relevant

times, acting within the course and scope oftheir employment.

       36.       The named Defendants, and all other Fictitious Parties herein, were negligent as

stated herein.

       37.       Said negligent conduct ofDefendants proximately caused Plaintiffto suffer
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injuries and damages, including but not limited to: she was caused to suffer physical injuries to

her person; surgery and surgical expenses, post-operative physical therapy treatment and

expenses she was caused to undergo medical evaluation and treatment for her injuries; she was

caused to incur expenses for the evaluation and treatment of her injuries and will be caused to

incur additional expenses in the future; she has been permanently disfigured; she has been caused

to suffer physical pain and suffering, loss of enjoyment of life; loss of quality of life, emotional

distress, and mental anguish; and she will continue to suffer similar injuries, pain and damages in

the future.

       WHEREFORE,premises considered, the Plaintiff herein demands judgment against the

Defendants herein for a sum within the jurisdictional limits ofthis Court, and any other relief to

which he is entitled.

                    NEGLIGENCE-FICTITIOUS DEFENDANTS "A-"V"

       38.     The plaintiff incorporates all prior allegations and averments herein by reference.

       39.     DEFENDANT,"A", the legal entity responsible for the repair of the dangerous

and defective condition described therein.

       40.     DEFENDANT,"B", the legal entity who or which failed to warn the Plaintiff of

the unreasonably dangerous or defective condition of the premises on the occasion described

therein.

       41.     DEFENDANT,"C", the legal entity who or which failed to train the individual(s)

responsible for warning the public of the unreasonably dangerous or defective condition of the

premises on the occasion described herein.

       42.     DEFENDANT, "D", the legal entity responsible for creating the unreasonably

dangerous or defective condition of the premises on the occasion described herein.

       43.     DEFENDANT,"E", the legal entity who or which owned, maintained or had any
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interest in the premises involved in the occurrence made the basis ofthis lawsuit.

       44.     DEFENDANT, "F", the legal entity who or which was lessor of the premises

involved in the occurrence made the basis of this lawsuit.

       45.     DEFENDANT,"G", the legal entity who or which was the lessee ofthe premises

involved in the occurrence made the basis ofthis lawsuit.

       46.     DEFENDANT,"H", the legal entity who or which controlled and/or had the right

to control the premises involved in the occurrence made the basis of this lawsuit at the time of or

at any time before said occurrence.

       47.     DEFENDANT,"r, the legal entity who or which controlled or had the right to

control the access, ingress, egress, or entrance to the premises involved in the occurrence made

the basis of this lawsuit at the time of said occurrence.

       48.     DEFENDANT,"J", the legal entity who or which conducted safety inspections or

analysis at or with referenced to the site ofthe occurrence made the basis of this lawsuit; prior to

the date of said occurrence.

       49.     DEFENDANT, "K", the legal entity including, but not limited to the general

liability insurance carrier of the entity which owned, occupied or maintained the premises

involved in the occurrence made the basis of this lawsuit, which conducted any safety inspection

or analysis of or with regard to the premises involved in the occurrence made the basis of this

lawsuit at any time prior to said occurrence.

       50.     DEFENDANT, "L", the legal entity who or which provided any insurance

coverage, of whatever kind of character, for any of the named defendants or fictitious party

defendants listed or named herein.

       51.     DEFENDANT, "M", the legal entity whose breach of contract or warranty

contributed to cause the occurrence made the basis ofthis lawsuit.
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       52.     DEFENDANT,"N", the legal entity who or which is the successor in interest of

any ofthose entities described above.

       53.     DEFENDANT,"0", the legal entity who or which provided any cleaning service

and/or maintenance ofthe premises involved in the claim made the basis ofthis lawsuit.

       54.     DEFENDANT, "P", the legal entity who or which planned, designed or

constructed the facility involved in the occurrence made the basis ofthis lawsuit.

       55.     DEFENDANT, "0", the legal entity who or which was architect, engineer,

contractor or subcontractor involved in the planning, design or construction of the building

involved in the occurrence made the basis ofthis lawsuit.

       56.     DEFENDANT, "R", the legal entity who or which supervised or trained the

person(s) responsible for the premises involved in the occurrence made the basis ofthis lawsuit;

       57.     DEFENFDANTS, "S", T", `t", AND "V", those other legal entities whose

combined and concurrent negligence, wantonness or other wrongful conduct contributed to cause

the Plaintiff's injuries involved in the incident made the basis of this suit. All of the above

fictitious party Defendants' true and correct names are otherwise unknown at this time but will

be supplied by amendment and substitution when ascertained.

       58.     Said negligent conduct of Defendants proximately caused Plaintiff to suffer

injuries and damages, including but not Iimited to: she was caused to suffer physical injuries to

her person; surgery and surgical expenses, post-operative physical therapy treatment and

expenses; she was caused to undergo medical evaluation and treatment of her injuries and will be

caused to incur additional expenses in the future; she has been permanently disfigured; she has

been caused to suffer physical pain and suffering, loss ofenjoyment of life; loss of quality of life,

emotional distress, and mental anguish; and she will continue to suffer similar injuries, pan and

damages in the future.
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       WHEREFORE, premises considered, the Plaintiff herein demands judgrnent against the

Defendants herein for a sum within the jurisdictional limits of this Court, and any other relief to

which she is entitled.

              *** PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY***

                                             /s/ R. Walker Garrett
                                             R. Walker Garrett(GAR109)
                                             Counsel for Plaintiff
OF COUNSEL:
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PLEASE SERVE BY CERTIFIED MAIL:

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c/o Corporation Service Company, Inc.
641 South Lawrence Street
Montgomery, Alabama 36104




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